Case 1:20-cv-25022-KMM Document 196 Entered on FLSD Docket 10/27/2021 Page 1 of 6




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                              Civil Action No. 1:20-cv-25022-KMM

   Ghada Oueiss,

                        Plaintiff,

                   v.

   Mohammed Bin Salman Bin Abdulaziz Al Saud,
   Mohammed Bin Zayed Al Nahyan, DarkMatter, Faisal al
   Bannai, Saudi 24 TV, a broadcast television station owned
   by the Kingdom of Saudi Arabia, Al Arabiya, a broadcast
   television station owned by the Kingdom of Saudi Arabia,
   Prince Mohammed Bin Salman Abdulaziz Foundation d/b/a
   MiSK Foundation, Saud Al Qahtani Bader Al-Asaker,
   Saudi Arabian Cultural Mission, Terek Abou Zeinab, Turki
   Al-Owerde, Faisal Al Menaia, Awwad Al Otaibi, Sharon
   Collins, Christanne Schey, Hussam Al-Jundi, Annette
   Smith, John Does 1-20,

                     Defendants.
   ________________________________________

   ELECTRONIC FRONTIER FOUNDATION’S REPLY IN SUPPORT OF MOTION FOR
    LEAVE TO FILE AMICUS CURIAE BRIEF IN SUPPORT OF PLAINTIFF AGAINST
    DEFENDANT DARKMATTER’S MOTION TO DISMISS, AND IN OPPOSITION TO
    DEFENDANT DARKMATTER’S MOTION TO STRIKE ELECTRONIC FRONTIER
       FOUNDATION’S MOTION FOR LEAVE TO FILE AMICUS CURIAE BRIEF
Case 1:20-cv-25022-KMM Document 196 Entered on FLSD Docket 10/27/2021 Page 2 of 6




                                             ARGUMENT

          The Court should grant non-party Electronic Frontier Foundation’s (EFF) motion for

   leave to file an amicus curiae brief in support of Plaintiff against Defendant DarkMatter’s

   Motion to Dismiss, ECF 165. See ECF 190 & 190-1. Defendant DarkMatter’s arguments

   against EFF’s motion for leave to file are without merit and, in any event, Defendant

   DarkMatter is correct that the Court has sole discretion to accept amicus briefs. See ECF 191

   at 2. See also Resort Timeshare Resales, Inc. v. Stuart, 764 F. Supp. 1495, 1500 (S.D. Fla.

   1991) (district courts have “inherent authority” to accept amicus briefs).

   I. EFF Meets the Amicus Standards

          EFF’s has a sufficient interest in this case. Cf. ECF 191 at 2, 5-6. District courts accept

   amicus briefs “where the third parties can contribute to the court’s understanding of the matter

   in question,” Conservancy of Sw. Fla. v. U.S. Fish & Wildlife Serv., 2010 WL 3603276, at *1

   (M.D. Fla. Sept. 9, 2010), or “when the amicus has unique information or perspective that can

   help the court beyond the help that lawyers for the parties are able to provide,” Dibbs v.

   Hillsborough Cty., Fla., 2014 WL 12839780, at *1 (M.D. Fla. Dec. 4, 2014) (citations

   omitted). Specifically, district courts grant motions for leave to file when “the [amicus] brief

   will assist the judges by presenting ideas, arguments, theories, insights, facts, or data that are

   not to be found in the parties’ briefs.” Chavez v. Credit Nation Auto Sales, Inc., 2014 WL

   12780146, at *2 (N.D. Ga. June 5, 2014) (citations omitted). District courts also grant leave to

   file when “the amicus has an interest in some other case that may be affected by the decision

   in the present case.” Dibbs, 2014 WL 12839780, at *1 (citations omitted). See also Leal v.

   Sec’y, U.S. Dep’t of Health & Hum. Servs., 2009 WL 1148633, at *2 (M.D. Fla. Apr. 28,

   2009) (same).



                                                     1
Case 1:20-cv-25022-KMM Document 196 Entered on FLSD Docket 10/27/2021 Page 3 of 6




          EFF meets these standards. As a prominent nonprofit that operates at the local,

   national, and international levels representing the interests of internet and technology users

   around the world, in both court cases and in public policy debates, EFF seeks to educate U.S.

   courts about the global and pervasive problem of foreign and American cybersurveillance

   companies facilitating human rights abuses with impunity.1 The outcome of this case,

   including the Court’s decision on foreign sovereign immunity, will not only affect Ms.

   Oueiss—it will also have severe implications for the human rights of billions2 of internet and

   technology users around the world. See City of S. Miami v. DeSantis, 2019 WL 9514566, at *1

   (S.D. Fla. Dec. 10, 2019) (granting motion for leave to file amicus brief because “Human

   Rights Watch (‘HRW’), Center for Constitutional Rights (‘CCR’), and LatinoJustice PRLDEF

   (‘LatinoJustice’) … have a special interest in the instant action because they advocate for the

   enforcement of international human rights law in the United States”). See also Friends of

   Everglades, Inc. v. S. Fla. Water Mgmt. Dist., 2005 WL 8160352, at *1 (S.D. Fla. Nov. 1,

   2005) (granting motion for leave to file amicus brief after movants argued that district court’s

   decision on summary judgment “could have wide-ranging effects” on water rights).

          This case is also relevant to pending cases. A case in the Ninth Circuit in which EFF

   filed an amicus brief also involves the invocation of foreign sovereign immunity by a

   cybersurveillance company that targeted journalists, human rights defenders, and other




   1
     See, e.g., David Kaye, Surveillance and Human Rights: Report of the Special Rapporteur on
   the Promotion and Protection of the Right to Freedom of Opinion and Expression, United
   Nations Human Rights Council (May 28, 2019),
   https://www.ohchr.org/EN/Issues/FreedomOpinion/Pages/SR2019ReporttoHRC.aspx.
   2
     “As of January 2021 there were 4.66 billion active internet users worldwide—59.5 percent of
   the global population. Of this total, 92.6 percent (4.32 billion) accessed the internet via mobile
   devices.” Joseph Johnson, Global digital population as of January 2021, Statista (Sept. 10,
   2021), https://www.statista.com/statistics/617136/digital-population-worldwide/.


                                                    2
Case 1:20-cv-25022-KMM Document 196 Entered on FLSD Docket 10/27/2021 Page 4 of 6




   members of civil society. See WhatsApp v. NSO Group, No. 20-16408 (9th Cir.).3 Another

   case before the Ninth Circuit in which EFF filed an amicus brief involves an American

   technology company facilitating human rights abuses by the Chinese government against a

   religious minority. See Doe I v. Cisco Systems, Inc., No. 15-16909 (9th Cir.).

   II. EFF’s Motion for Leave to File Is Not Too Long and Is Timely

          EFF’s motion for leave to file is not too long. Cf. ECF 191 at 2-3. Local Rule

   7.1.(c)(2) provides that “neither a motion and its incorporated memorandum of law nor the

   opposing memorandum of law shall exceed twenty (20) pages.” EFF’s motion for leave to

   file, including the supporting Memorandum of Law, is less than four pages. See ECF 190.

   This is less than the 20-page limit.

          As for EFF’s proposed amicus brief itself, there is no district court rule regulating the

   word or page limit for amicus briefs.4 Defendant DarkMatter cites the Federal Rules of

   Appellate Procedure (FRAP). See ECF 191 at 3 (citing FRAP 29(a)(5) but conflating it with

   this Court’s Local Rules). If the Court were to apply the FRAP for length limit purposes—

   which the Court need not do given its “broad discretion” regarding amicus briefs, see Chavez,

   2014 WL 12780146, at *3—EFF’s proposed amicus brief is fewer than 6500 words (6497,

   including footnotes, to be precise), which is the limit provided by the FRAP, where a party’s

   principal brief may be no more than 13,000 words and amicus briefs must be half of that. See




   3
     See also Citizen Lab, NSO Group/Q Cyber Technologies: Over One Hundred New Abuse
   Cases (Oct. 29, 2019), https://citizenlab.ca/2019/10/nso-q-cyber-technologies-100-new-abuse-
   cases/.
   4
     See generally Local Rules, United States District Court for the Southern District of Florida
   (Revised Dec. 1, 2020), https://www.flsd.uscourts.gov/sites/flsd/files/2020-
   LocalRulesEffective12-01-2020-FINAL.pdf.


                                                    3
Case 1:20-cv-25022-KMM Document 196 Entered on FLSD Docket 10/27/2021 Page 5 of 6




   FRAP 29(a)(5) & 32(a)(7).5

          EFF’s motion for leave to file is also timely. Although Defendant DarkMatter again

   cites the FRAP, it is ultimately correct that the Local Rules do not set a deadline for filing

   amicus briefs in district court, see ECF 191 at 3 (citing FRAP 29(a)(6)), and so the Court has

   discretion to determine whether the timing of EFF’s amicus brief reasonably fits within the

   Court’s calendar. See Chavez, 2014 WL 12780146, at *3 (rejecting defendant’s argument that

   motions for leave to file amicus briefs should be denied because the motions were untimely

   and the proposed briefs too long per the FRAP, stating “the Court can quickly dispose of those

   arguments, as the Federal Rules of Appellate Procedure do not apply in district court”). Here,

   EFF sought leave to file its amicus brief just five days after briefing was complete on the

   Motions to Dismiss, prior to any hearing or adjudication of the motions. EFF respectfully

   submits that because briefing on the Motions to Dismiss has just completed and the Court has

   not yet disposed of the motions, the Court has ample time to consider the EFF’s amicus brief.

   See Pratt v. Indian River Cent. Sch. Dist., at *3 (N.D.N.Y. Dec. 6, 2010) (granting motion for

   leave to file amicus brief and holding the motion “is not untimely simply because cross-

   motions for summary judgment have already been fully submitted;” instead “the motion is

   untimely if it is filed after judgment has been rendered on those motions”) (citations and

   internal quotations omitted).

                                             CONCLUSION

          This Court should grant non-party EFF’s motion for leave to file an amicus curiae brief

   in support of Plaintiff against Defendant DarkMatter’s Motion to Dismiss because EFF meets the


   5
    See also United States Court of Appeal for the Eleventh Circuit, Federal Rules of Appellate
   Procedure, at 196 (Aug. 2021),
   https://www.ca11.uscourts.gov/sites/default/files/courtdocs/clk/Rules_Bookmark_AUG21.pdf.


                                                     4
Case 1:20-cv-25022-KMM Document 196 Entered on FLSD Docket 10/27/2021 Page 6 of 6




   amicus standards, and EFF’s motion and proposed brief are of appropriate length and were

   timely filed.


   Dated: October 27, 2021                        Respectfully submitted,

                                                  Deanna K. Shullman

                                                  Deanna Shullman
                                                  Shullman Fugate PLLC
                                                  2101 Vista Parkway
                                                  Suite 4006
                                                  West Palm Beach, FL 33411
                                                  dshullman@shullmanfugate.com
                                                  Tel.: (561) 429-3619


                                                  Sophia Cope
                                                  (admitted pro hac vice)
                                                  Mukund Rathi
                                                  (admitted pro hac vice)
                                                  Electronic Frontier Foundation
                                                  815 Eddy Street
                                                  San Francisco, CA 94109
                                                  sophia@eff.org
                                                  mukund@eff.org
                                                  Tel.: (415) 436-9333
                                                  Fax: (415) 436-9993

                                                  Counsel for Amicus Curiae
                                                  Electronic Frontier Foundation




                                                 5
